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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 05 hug ..2 FM 3: 53
Western Division

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__ "§r"§.fl` COURT
UNITED sTATEs 0F AMERICA -'Lf:-»i?’r‘=i$
-vs- Case No. 2:05cr20146-Ml
DONISHA I-IENSON
a/k/a Kiana McGee

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
FRIDAY, AUGUST 5, 2005 at 2:45 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing.

Date: August 2, 2005

 

TU M. PHAM
UNITED STATES MAGISTRATE ]UDGE

 

1If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(0(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/65) Order of Temporary Defention

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his document entered on the docket sheet in compliance
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UNITED sTATE ISTRIC COUR - WESTERN D'S'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20146 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

